            UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF CALIFORNIA
                              San Francisco Venue


              Request for Modifying the Conditions or Term of Supervision
                          from the Person Under Supervision
                  (Probation Form 49, Waiver of Hearings is Attached)


Person Under Supervision                         Docket Number
Robert Guevara                                   0971 3:17CR00378-001 RS

Name of Sentencing Judge: The Honorable Richard Seeborg
                          Chief United States District Judge

Date of Original Sentence:      April 3, 2018

Original Offense
Count One – Conspiracy to Distribute Methamphetamine, 21 U.S.C. §846, §§841(a)(1),
(b)(1)(B)(viii);
Count Two – Distribution of Methamphetamine, 21 U.S.C. §§841(a)(1), (b)(1)(B)(viii), Class
B Felonies.

Original Sentence: 60 months of imprisonment as to counts one and two to be served
concurrently and 5 years of supervised release.

Special Conditions: Participate in vocational training; $200 special assessment; drug offender
registration; DNA collection; not own or possess any firearms; expanded search; drug testing;
drug treatment; no alcohol; no contact with the codefendant, namely Lillian Hovan.

Prior Form(s) 12: On January 13, 2021, a request to modify conditions of supervised release
was filed with the court to add a residential reentry center condition. The proposed modification
was approved by the Court.

Type of Supervision                              Date Supervision Commenced
Supervised Release                               January 25, 2021
Assistant U.S. Attorney                          Defense Counsel
Denise Oki                                       Severa Keith (AFPD)




                                                                    NDC-SUPV-FORM 12B(1) 4/6/2015
RE:    Guevara, Robert                                                                           2
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                                     Petitioning the Court

To modify the conditions of Supervised Release as follows:

       You must reside at the Residential Reentry Center for a period of up to 180 days, at the
       direction of the probation officer, to commence November 1, 2021, and you must observe
       the rules of that facility.

                                             Cause

 Charge Number         Violation

 One                   There is probable cause to believe that the person under supervision violated
                       standard condition number seven, which states that he must refrain from
                       any unlawful use of a controlled substance.

                         On June 8, 2021, Mr. Guevara submitted a urinalysis test which returned
                         positive for methamphetamine, marijuana and morphine.

                         On August 5, 2021, Mr. Guevara signed an admission form admitting
                         to the use of methamphetamine.

                         Evidence of this charge may be found in chronological entry dated June
                         8, 2021, and admission form dated August 5, 2021, maintained by the
                         U.S. Probation Office.



 Two                   There is probable cause to believe that the person under supervision violated
                       special condition number seven which states that he shall participate in a
                       program of testing and treatment for drug and alcohol abuse, as directed by
                       the probation officer, until such time as you are released from treatment by
                       the probation officer.

                          On May 19, and 26; June 2, 9, 16, and 23; and July 15, 2021, Mr.
                          Guevara failed to participate in group substance abuse treatment at
                          Dolan Mental Health.

                          Evidence of this charge may be found in email notifications received
                          from Dolan Mental Health dated May 19, and 26; June 2, 9, 16, and 23;
                          and July 15, 2021, maintained by the U.S. Probation Office.


On March 5, 2021, Mr. Guevara was referred to Dolan Mental Health to receive group substance
abuse counseling to address his ongoing substance use. Mr. Guevara was afforded time to resolve
personal matters and to commence counseling. However, all efforts were unsuccessful as he


                                                                     NDC-SUPV-FORM 12B(1) 4/6/2015
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claimed not being able to connect to his sessions through Zoom. In view of the fact that he wants
to remain employed, a plan has been put in place which includes placement at the residential
reentry placement, which will allow him to work while benefitting from substance abuse treatment.

Mr. Guevara signed the attached waiver of counsel/hearing consenting to the proposed
modification. Therefore, it is respectfully recommended that Your Honor modify his special
conditions to include placement in the RRC for a period of up to 180 days.


 Respectfully submitted,                           Reviewed by:



 ___________________________________
                                                   __________________________
 Jose Figueroa
                                                   Octavio E. Magana
 U.S. Probation Officer
                                                   Supervisory U.S. Probation Officer
 Date Signed: October 20, 2021


THE COURT ORDERS:

 X     To modify the conditions of supervision as follows:

          You must reside at the Residential Reentry Center for a period of up to 180 days, at the
          direction of the probation officer, to commence November 1, 2021, and you must
          observe the rules of that facility.

       Submit a request for a warrant
       Submit a request for summons
       Other:




 November 2, 2021
 Date                                                Richard Seeborg
                                                     Chief United States District Judge




                                                                     NDC-SUPV-FORM 12B(1) 4/6/2015
